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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF GEORGIA
                                  ATHENS DIVISION


GRANGE INSURANCE COMPANY,

          Plaintiff,
                                                                   CIVIL ACTION NO.
v.                                                                  3:23-cv-00145-TES
MARK MARTIN, et al.,

          Defendants.


                                                   ORDER



         The United States Court of Appeals for the Eleventh Circuit remanded this case

 “for the limited purpose of determining the parties’ citizenships and whether diversity

 jurisdiction existed when this action was filed.” [Doc. 41, p. 4]; see 28 U.S.C. § 1332(a).

 The Court directed the parties to submit declarations establishing each party’s

 citizenship, and the parties complied. [Doc. 42].

         Having reviewed the pleadings and the documents provided by the parties, 1 the

 Court makes the following findings:

         (1) Amount in Controversy: In its Complaint, Grange alleges that “[t]he amount

             in controversy exceeds $75,000.” [Doc. 1, ¶ 3]. In the underlying action, Maria

             Harris seeks damages exceeding $1,000,000, see [Doc. 1-1, p. 35], and no


 1See [Doc. 43, Kielkopf Aff.]; [Doc. 44, M. Martin Decl.]; [Doc. 45, S. Martin Decl.]; [Doc. 46, Maria Harris
 Decl.].
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   Defendant has disputed that the amount in controversy in this case meets the

   jurisdictional threshold set forth in 28 U.S.C. § 1332(a). The Court finds that

   the amount-in-controversy requirement is met. See 28 U.S.C. § 1332(a).

(2) Plaintiff’s Citizenship: Grange Insurance Company is incorporated in the

   State of Ohio and maintains its principal place of business in Ohio. See [Doc.

   43, Kielkopf Aff., ¶ 4]. For the purposes of diversity jurisdiction, a corporation

   is “deemed to be a citizen of every State . . . by which it has been incorporated

   and of the State . . . where it has its principal place of business.” 28 U.S.C. §

   1332(c)(1). Thus, for those purposes, Grange is “deemed to be a citizen of”

   Ohio. Id.; see [Doc. 43, Kielkopf Aff., ¶ 4].

(3) Defendants’ Citizenship:

      a. Mark Martin and Shannon Martin both reside in Bishop, Georgia, and

          are domiciled in Georgia. See [Doc. 44, M. Martin Decl., ¶ 2]; [Doc. 45,

          S. Martin. Decl.]. Thus, for the purposes of diversity jurisdiction, they

          are citizens of Georgia.

      b. Classic City Clydesdales, LLC is wholly owned by its sole member,

          Mark Martin. [Doc. 44, M. Martin. Decl., ¶ 3]. For the purposes of

          diversity jurisdiction, a limited liability company is a citizen of any

          state of which a member of the company is a citizen. See Mallory &

          Evans Contractors & Eng’rs, LLC v. Tuskegee Univ., 663 F.3d 1304, 1305


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                  (11th Cir. 2011). Thus, for those purposes, Classic City Clydesdales is a

                  citizen of Georgia as well.

              c. Defendant Maria Harris resides in Dekalb County, Georgia, and is

                  domiciled in the State of Georgia. [Doc. 46-1, Harris Decl., ¶ 3]. Thus,

                  for the purposes of diversity jurisdiction, Harris is also a citizen of

                  Georgia.

       (4) Complete Diversity: The Court finds that the parties to this action are

           completely diverse. Section 1332’s second prong—the “diversity of

           citizenship” requirement—demands complete diversity. Triggs v. John Crump

           Toyota, 154 F.3d 1284, 1287 (11th Cir. 1998) (citing 28 U.S.C. § 1332(a)(1)). In

           other words, “every plaintiff must be diverse from every defendant.” Id.

           Grange, a citizen of Ohio, is diverse from every Defendant, all of whom are

           citizens of Georgia. Thus, the complete diversity requirement is met.

       Because the Court finds that (1) the amount in controversy exceeds the

jurisdictional threshold and (2) the parties are completely diverse, see 28 U.S.C. §

1332(a); Triggs, 154 F.3d at 1287, the Court concludes that diversity jurisdiction existed

at the time this action was filed. Therefore, this action falls within the limits of this

Court’s subject matter jurisdiction. See 28 U.S.C. § 1332(a).

       Accordingly, the Court FINDS that it has subject matter jurisdiction over this

action and DIRECTS the Clerk of Court to return the record, as supplemented, to the


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Eleventh Circuit Court of Appeals.

      SO ORDERED, this 28th day of February, 2025.

                                         S/ Tilman E. Self, III
                                         TILMAN E. SELF, III, JUDGE
                                         UNITED STATES DISTRICT COURT




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